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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
 RCH/SPN/HDM/CRH                                   271 Cadman Plaza East
 F. #2018R01309                                    Brooklyn, New York 11201


                                                   January 3, 2022

 By ECF

 The Honorable Brian M. Cogan
 United States District Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

               Re:    United States v. Rashid Sultan Rashid Al Malik Alshahhi, et al.
                      Criminal Docket No. 21-371 (BMC)

 Dear Judge Cogan:

               The parties respectfully submit this proposed joint agenda for the status
 conference in the above-captioned matter scheduled for January 5, 2022 at 11:45 a.m.

     Production of Rule 16 Material: The government continues to produce discoverable
      material to the defendants on a rolling basis pursuant to Federal Rule of Criminal
      Procedure 16. Since the last status conference in this matter, the government has made
      three additional productions totaling more than 80,000 files. At this stage, the
      government has produced the vast majority of discoverable material currently in its
      possession. The government will continue to collect, review and produce new
      discoverable material on a rolling basis as it comes into the government’s possession.
      The parties have also conferred regarding various discovery-related requests and will
      continue to do so. If the parties are unable to reach an agreement regarding any such
      requests, they will bring any such dispute to the Court’s attention for resolution.

     Classified Information Procedures Act (CIPA): On October 29, 2021, the government
      filed a motion for a pretrial conference pursuant to Section 2 of the Classified
      Information Procedures Act, 18 U.S.C. App. 3, §§ 1-16 (“CIPA”). The government is
      prepared to proceed with the pretrial conference on January 5, 2022.

     Motion for a Curcio Hearing: On December 23, 2021, the government filed a letter
      advising the Court of a potential conflict of interest involving counsel for the defendant
      Matthew Grimes. See Dkt. No. 60. At the status conference, the government
      respectfully requests that the Court advise Grimes of the potential conflicts, conduct an
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          appropriate inquiry pursuant to United States v. Curcio, 680 F.2d 881 (2d Cir. 1982),
          and determine whether Grimes waives these potential conflicts.

        Motion to Dismiss: Counsel for Mr. Barrack requests that the Court set a briefing
         schedule for a motion to dismiss the indictment. The parties have conferred and
         respectfully propose the following briefing schedule: (a) the defendant’s motion to be
         filed by January 31, 2022; (b) the government’s response to be filed by February 28,
         2022; (c) the defendant’s reply to be filed by March 14, 2022. The parties will be
         prepared to argue the motion, if the Court so directs, at the next status conference.

        Scheduling: Defendants would also like to set dates for completion of discovery, CIPA
         filings, other motions, and a trial date.

        Next Status Conference: The parties respectfully request that the Court schedule the
         next status conference for the week of March 21, 2022, preferably on March 22, 2022.

                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                             By:      /s/
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                                             By:    /s/ Matthew J. McKenzie
                                                    Matthew J. McKenzie
                                                    Trial Attorney

 cc:      Counsel for Thomas Joseph Barrack (by ECF)
          Counsel for Matthew Grimes (by ECF)
          Clerk of the Court (BMC) (by ECF)




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